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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 YEHUDA SIGALIT,
                                Plaintiff,
                                                                                           7/22/2024
                        -against-

 JOSSEF KAHLON,
                                Defendant.
                                                                 21-CV-08921 (MMG) (JC)

 JOSSEF KAHLON,                                                  TRIAL SCHEDULING
                                Counterclaim Plaintiff,          ORDER

                        -against-

 YEHUDA SIGALIT and AVRAHAM YEHUDA,
                                Counterclaim
                                Defendants.


MARGARET M. GARNETT, United States District Judge:
         It is hereby ORDERED that this matter is scheduled for jury trial beginning Monday,
February 10, 2025, at 9:30 a.m. That trial date should be treated as a firm date. (If counsel
fails to bring conflicts with the trial date involving any and all witnesses to the Court’s attention
within the next three business days, no adjournments will be granted in the future on that basis,
absent a true emergency.) The parties are advised that the trial date will not be adjourned on
account of a settlement in principle; put differently, unless the parties (1) file a stipulation of
dismissal or settlement; or (2) appear in person to put the material terms of a settlement on the
record (and the Court approves the settlement to the extent that such approval is required), the
parties should be prepared to go to trial as scheduled. The jury day will typically run from 9:30
a.m. until 5:00 p.m. However, once a jury has been selected, counsel should expect to be present
in court beginning at 9:00 a.m. and shall be available after 5:00 p.m. to discuss scheduling and
any disputed matters that may arise.

        Counsel are referred to Sections V and VI of the Court’s Individual Rules & Practices
(available at https://nysd.uscourts.gov/hon-margaret-m-garnett) (“Individual Rules”), which
govern pre-trial procedures and related filings, as well as trial procedures.

      It is further ORDERED that the parties must file a Joint Pretrial Order, in accordance with
Rule V(A)(1) of the Court’s Individual Rules, on or before January 6, 2025.

        It is further ORDERED that, in accordance with Rule V(A) and Rule V(B) of the Court’s
Individual Rules, on or before January 6, 2025, parties shall also file and serve all required
pretrial filings, including motions addressing any evidentiary issues or other matters that should
be resolved in limine, and joint requests to charge, a joint proposed verdict sheet, and joint
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proposed voir dire questions. All motions in limine must comply with Rule V(A)(2) of the
Individual Rules. Any party wishing to file a motion in limine must first confer in good faith with
the opposing party in an effort to resolve the dispute; all motions in limine must include a
representation that the meet-and-confer process occurred and was unsuccessful. Absent leave of
the Court, each party must file a single memorandum of law in support of all motions in limine
filed by that party.

        It is further ORDERED that, in accordance with Rule V(A)(2) of the Individual Rules,
responses to motions in limine are due within one week of the filing of the motion in limine; no
reply briefs shall be filed.

        It is further ORDERED that, in accordance with Rule V(D)(2) of the Court’s Individual
Rules, the parties shall email to the Court and to opposing counsel by 10:00 a.m. on February 7,
2025, an electronic copy of each exhibit sought to be admitted (with each filename corresponding
to the relevant exhibit number — e.g., “PX-1,” “DX-1,” etc.). If the files are too large for
submission by email, the parties shall send a file-transfer link containing the files to the Court and
to opposing counsel. In accordance with Rule V(D)(2) of the Court’s Individual Rules, by 10:00
a.m. on February 7, 2025, the parties shall also provide the Court with physical copies of the
exhibit list (see Rule V(D)(1) of the Court’s Individual Rules) and the documentary exhibits.
Each hard copy shall be pre-marked (that is, with an exhibit sticker).

         It is further ORDERED that counsel for all parties shall appear for a final pretrial
conference on Monday, January 27, 2025, at 9:30 a.m., in Courtroom 906 of the Thurgood
Marshall Courthouse, 40 Foley Square, New York, NY 10007. It is further ORDERED that prior
to the final pretrial conference, counsel for both parties, along with the parties themselves, shall
meet in person for at least one hour to discuss settlement of this matter.

       It is further ORDERED that if the parties wish to have another settlement conference
before Magistrate Judge Cott, they should contact his chambers promptly to schedule a
settlement conference as soon as Judge Cott’s schedule permits.

        Counsel are further referred to Rule V(E)(2) of the Individual Rules regarding a
technology walkthrough and test. Counsel are required to contact the Courtroom Deputy by no
later than January 27, 2025, to make the necessary arrangements.



Dated: July 22, 2024
       New York, New York
                                                           SO ORDERED.


                                                           MARGARET M. GARNETT
                                                           United States District Judge
